Case 3:22-cv-03008-RAL Document 92 Filed 10/04/22 Page 1 of 2 PageID #: 1936




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                    CENTRAL DIVISION

LOWER BRULE SIOUX TRIBE; and individual           )          Case No. 3:22-cv-03008
members Neil Pierre Russell, Stephanie Bolman,    )
and Ben Janis,                                    )
                                                  )
                 Plaintiffs,                      )
                                                  )
v.                                                )              NOTICE OF APPEAL
                                                  )
LYMAN COUNTY; LYMAN COUNTY                        )
BOARD OF COMMISSIONERS; BRIAN                     )
KRAUS, in his official capacity as Lyman          )
County Commissioner; LESLIE REUER, in her         )
official capacity as Lyman County                 )
Commissioner; ZANE REIS, in his official          )
capacity as Lyman County Commissioner;            )
RYAN HUFFMAN, in his official capacity as         )
Lyman County Commissioner; JARED                  )
SCHELSKE, in his official capacity as Lyman       )
County Commissioner; and DEB HALVERSON, )
in her official capacity as Lyman County Auditor, )
                                                  )
                 Defendants.                      )

    NOTICE OF APPEAL OF ORDER GRANTING PRELIMINARY INJUNCTION

       PLEASE TAKE NOTICE that, pursuant to Fed. R. App. P. 3(c)(1) and 4(a), notice is

hereby given that all Defendants above-named hereby appeal to the United States Court of

Appeals for the Eighth Circuit the Order Granting Motion for and Entering Preliminary

Injunction to a Limited Extent (Doc. 79) entered in this action on September 2, 2022 by the

United States District Court for the Central Division of South Dakota and all other matters and

orders affecting the Order.

       Defendants previously filed a notice of appeal on August 16, 2022 of the District Court’s

Opinion and Order Granting Motion for Preliminary Injunction Depending on Adoption of an

Appropriate Remedial Plan (Doc. 55). The previous notice of appeal is sufficient to address the
Case 3:22-cv-03008-RAL Document 92 Filed 10/04/22 Page 2 of 2 PageID #: 1937




subsequent order entered by this Court but Defendants file this notice of appeal to avoid any

appearance of waiving the issue.

       Dated: October 4, 2022.
                                         GUNDERSON, PALMER, NELSON
                                           & ASHMORE, LLP



                                         By: /s/ Sara Frankenstein
                                             Sara Frankenstein
                                             Attorneys for Defendants
                                             506 Sixth Street
                                             P.O. Box 8045
                                             Rapid City, SD 57709
                                             Telephone: (605) 342-1078
                                             Telefax: (605) 342-9503
                                             E-mail: sfrankenstein@gpna.com




                                               -2-
